Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 1 of 69

EXHIBIT 1
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 2 of 69
RECEIVED
VILLAGE OF PINECREST

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VILLAGE OF PINECREST APR L1 2018
APRIL 2018 4 Reception
OFFICE OF THE IN THE CIRCUIT COURT Gt Fifistration Office
Veutccimutecr 11TH JUDICIAL CIRCUIT IN AND FOR
MIAMI DADE COUNTY, FLORIDA
MARIA ALBERRO MENENDEZ,
Plaintiff,
VS. ‘ Case No. 2017-029598-CA-0}
VILLAGE OF PINECREST, Y af FOS )
Defendant. GW au C
SUMMONS IN A CIVIL CASE

TO: VILLAGE OF PINECREST MIAME through its the president, mayor, chair, or other head
thereof:

MAYOR JOSEPH M. CORRADINO,

12645 PINCREST PARK WAY

PINECREST, FL 33156

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY .

PETER M. HOOGERWOERD, ESQ,
REMER & GEORGES-PIERRE, PLLC.
44 WEST FLAGLER STREET

SUITE 2200

MIAME, FL 33130

an answer to the complaint which is herewith served upon you, within 20 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will
be taken against you for the relief demanded in the complaint. You: must also file your answer
with the Clerk of this Court within a reasonable period of time after service.

Harvey Ruvin,

 

Clerk of Courts 4/5/2018
CLERK DATE
7 164659
Ponelte Brow

 

(BY) DEPUTY CLERK

 
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IN THE CIRCUIT COURT OF THE
LiITH JUDICIAL CIRCUIT IN AND FOR
MIAMI DADE COUNTY, FLORIDA

 

CASE NO.__ a

MARIA ALBERRO MENENDEZ,

Plaintiff,
Vv.
VILLAGE OF PINECREST

Defendant,

/
COMPLAINT

COMES NOW, Plaintiff, MARIA ALBERRO MENENDEZ, (hereinafter “Plaintiff’), by
and through the undersigned counsel, hereby sues Defendant, VILLAGE OF PINECREST
(hereinafter “Defendanv’”), and in support avers as follows:

GENERAL ALLEGATIONS
1. This is an action by the Plaintiff for damages exceeding $15,000 excluding attorneys’ fees
or costs for damages due Defendant’s violations of the Florida Public Sector Whistleblower
Act Fla. Stat. Sec
2. Plaintiff alleges a cause of action for retaliation under Florida Statutes §1 12.3187,
Florida Statutes as a result of her dismissal for objecting to violations of law, rule and
regulation committed, ratified and/or condoned by Defendant.
3. Atall times material hereto, Plaintiff was a resident of Miami Dade County, Florida.
4. Venue is proper in Miami Dade County because all of the actions that form the basis of this

Complaint occurred within Miami Dade County.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 4 of 69

5. On June 2, 2017, Plaintiff filed a charge of employment discrimination with the Equal
Employment Opportunity Commission (“EEOC”) which was dually filed with the Florida
Commission on Human Relations, and which articulated Plaintiff's whistleblower complaint
of certain Village employees, including the Village Clerk’s, theft of wages, time, and abuse
of illegal spending of public funds.

6. On June 4, 2017, Plaintiff filed a memo requesting preservation of Defendant’s network
traffic and data for routers, switches, etc. due to unauthorized access to Plaintiff's personal
information.

7. On June 4, 2017, Plaintiff filed a “Whistle-Blower” complaint to the Defendant outlining
iNegal activity/ fraud.

8. On June 5, 2017, Defendant placed Plaintiff on administrative leave after meeting with the
Village Attorney and the Village Manager. Plaintiff again requested a hearing regarding her
separation of employment.

9. Onor about June 5, 2017, Plaintiff filed an Amended Charge of Discrimination.

10. Plaintiff received a termination letter, dated June 27, 2017. Plaintiff was not afforded a
hearing in compliance with the Village Ordinances and/or the Florida Commission on
Human Relations procedures for investigation of public whistleblower complaints.

Ll. The Florida Commission on Human Relations did not issue a finding on Plaintiff's charge
within 180 days of the filing of said charge.

12. This Complaint is hereby filed within 180 days of Defendant’s Letter of Termination,, dated
June 27, 2017, which caused plaintiff to be fired without a hearing, and after over thirty-five

years of public-sector service.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 5 of 69

13. All conditions precedent for the filing of this action before this Court have been previously
met, including the exhaustion of all pertinent administrative procedures and remedies.
FACTUAL ALLEGATIONS COMMON TO ALL COUNTS
14. Plaintiff, a female over forty (40) years old with a disability was employed by Defendant

from March 2012 through June 21, 2017 as an assistant village manager.

15. Plaintiff was at all times qualified for her job, and consistently received “Above Satisfactory”
annual evaluations.

16. Plaintiff had no reprimands or disciplinary actions in her over five (5) years of employment
with the village.

17. Plaintiff was assessed by her peers and a elected village official that resulted in high ratings
for her management and leadership skills.

18. Plaintiff has been publically recognized by the International City/County Manager’s
Association (ICMA) as a “Credential Manager” and for her thirty-five (35) years of local
government services.

19. Plaintiff was acting village manager during the Village Manager’s extended medical leaves.

20. Plaintiff complained frequently about the Village Manager and Village Clerk “stealing
time,” and misappropriation of Village funds.

21. Thereafter, Village Clerk, Inguanzo would constantly single out Plaintiff and exclude her
from notifications of Village events, and tell Plaintiff’s supervisor that Plaintiff needed to
be terminated,

22. Plaintiff has never received recognition for her work. However, other similarly situated

younger male(s) without a disability were often recognized and awarded for their work.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 6 of 69

23. Plaintiff made several complaints regarding Village Clerk,Inguanzo’s misappropriation of
funds and stealing of time.

24. Subsequently, Village Clerk Inguanzo, surreptitiously placed spyware on Plaintiff's
computer, in an effort to eviscerate Plaintiffs ability to complain about employee theft of
Village funds and time.

25. On or about June 5, 2017, Plaintiff was verbally told by her supervisor to pack her personal
items, that she was going to be placed on administrative leave until the end of the year and
if she refused, that the plaintiff would be terminated

26. On June 27, 2017, Plaintiff was terminated.

27. Upon information and belief, Defendant’s reason for termination (if any) is pretextual.

COUNT I :
VIOLATION OF §112.3187, FLORIDA STATUTES AGAINST PUBLIC HEALTH TRUST

28, Plaintiff realleges the allegations contained in paragraphs 1 through 27 above as if fully

set forth herein.

29. Section 112.3187(2), Florida Statutes states in relevant part:

“(2) LEGISLATIVE INTENT -- It is the intent of the Legislature to

prevent agencies or independent contractors from taking retaliatory action

against an employee who reports to an appropriate agency violations of

Jaw on the part of a public employer or independent contractor that create

a substantial and specific danger to the public’s health, safety, or welfare.”
(4) | ACTIONS PROHIBITED —

(a) An agency or independent contractor shall not dismiss, discipline,

or take any other adverse personnel action against an employee for

disclosing information pursuant to the provisions of this section.

(b) An agency or independent contractor shall not take any adverse

action that affects the rights or interests of a person in retaliation for the
person’s disclosure of information under this section.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 7 of 69

30.

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34

The term “agency” under §112.3187, Florida Statutes includes Defendant state

agency.

During her employment tenure with Defendant, Plaintiff reported acts of gross
mismanagement, malfeasance, and misfeasance committed by Defendant that were
violations of the public health, safety, and welfare.

As a direct and proximate result of Plaintiff's reporting, Defendant terminated Plaintiff's
employment.

As a result of Defendant’s conduct, and its willful and malicious discharge of Plaintiff's
employment for objecting to violations of law, rule and regulation, Plaintiff has
experienced and will continue to experience significant financial and economic loss in
the form of lost wages and lost benefits: Plaintiff has also experienced and will continue ~
to experience emotional anguish, pain and suffering and loss of dignity damages.
Plaintiff accordingly demands lost economic damages in the form of back pay and front

pay, compensation for her lost benefits, as well as compensatory. damages.

. Plaintiff also demands her attorney’s fees and costs as provided by law.

WHEREFORE, Plaintiff prays for the entry of a judgment against Defendant and award

her economic damages in the form of back pay and front pay, compensatory and punitive damages,

attorney’s fees and costs as a result of Defendant’s retaliatory conduct in violation of §112.3187,

Florida

Statutes, as well as any and all other relief permitted by law.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 8 of 69

JURY DEMAND

Plaintiff demands trial by jury of all issues triable as of right by jury.

Dated: December 23, 2017.

/s/ Peter M. Hoogerwoerd

Peter M. Hoogerwoerd, Esq.
Florida Bar No.: 188239
pmh@rgpattorneys.com

Nathaly Lewis, Esq.

Florida Bar No. 118315
nl@rgpattorneys.com

REMER & GEORGES-PIERRE, PLLC
44 West Flagler Street, Suite 2200
Miami, FL 33130

Telephone: (305) 416-5000
Facsimile: (305) 416-5005
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 9 of 69

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IN THE CIRCUIT COURT IN AND FOR THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI DADE COUNTY, STATE OF FLORIDA

 

CIVIL DIVISION
MARIA ALBERRO MENENDEZ,
Plaintiff,
Vv. Case No. 2017-029598-CA-01
VILLAGE OF PINECREST,
Defendant. |
NOTICE OF APPEARANCE

 

NOTICE IS HEREBY GIVEN that Brian Koji and the law firm of Allen Norton & Blue,
P.A., hereby enter their appearance as counsel of record for VILLAGE OF PINECREST, in the
above-referenced matter. All future pleadings and correspondence to Defendant in this litigation
should be served upon the undersigned counsel at the Tampa office address shown below.

Dated this 13" day of April 2018. Respectfully submitted,

s/ Brian Koji

BRIAN KOJI

Florida Bar No. 0116297
Counsel for Defendant

 

ALLEN NORTON & BLUE, P.A.

Hyde Park Plaza - Suite 225

324 South Hyde Park Avenue

Tampa, Florida 33606-4127

(813) 251-1210 | (813) 253-2006 — Fax

Primary: bkoji@anblaw.com

Secondary: tcarnevalini@anblaw.com
amcclanahan@anblaw.com

ALLEN NORTON & BLUE, P.A.
SPDN-868764429-222 1419 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 10 of 69

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 13 day of April 2018, a true and correct copy of the
foregoing was electronically filed using the Florida Courts E-Filing Portal, which will send a
notice of electronic filing to Peter M. Hoogerwoerd, Esquire and Nathaly Lewis, Esquire, Remer

& Georges-Pierre, PLLC, 44 West Flagler, Street, Suite 2200, Miami, Florida 33130 (Primary:

pmh@rgpattorneys.com and nl@rgpattorneys.com].

s/ Brian Koji
ATTORNEY

2

ALLEN NORTON & BLUE, P.A.
SPDN-868764429-2221419 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 11 of 69

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IN THE CIRCUIT COURT IN AND FOR THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI DADE COUNTY, STATE OF FLORIDA

CIVIL DIVISION
MARIA ALBERRO MENENDEZ,
Plaintiff,
Vv. Case No. 2017-029598-CA-01
VILLAGE OF PINECREST,
Defendant.

 

NOTICE OF E-MAIL DESIGNATIONS

Counsel for Defendant, VILLAGE OF PINECREST, pursuant to Florida Rules of Civil
Procedure 1.080 and Rule 2.516(b)(1)(A), Florida Rules of Judicial Administration, hereby files
this Notice of Designation of E-Mail Addresses for Service of Court Documents, and designates
the following e-mail addresses to be used for service of court papers in this action:

Primary Email Addresses: Secondary Email Addresses:

bkoji@anblaw.com tcarnevalini@anblaw.com
amcclanahan@anblaw.com

Dated this 13" day of April 2018. Respectfully submitted,

s/ Brian Koji

BRIAN KOJI

Florida Bar No. 0116297
Counsel for Defendant

ALLEN NORTON & BLUE, P.A.

Hyde Park Plaza - Suite 225

324 South Hyde Park Avenue

Tampa, Florida 33606-4127

(813) 251-1210 | (813) 253-2006 — Fax

Primary: bkoji@anblaw.com

Secondary: tcarnevalini@anblaw.com
amcclanahan@anblaw.com

ALLEN NORTON & BLUE, P.A.
SPDN-868764429-222 1421 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 12 of 69

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 13" day of April 2018, a true and correct copy of the
foregoing was electronically filed using the Florida Courts E-Filing Portal, which will send a
notice of electronic filing to Peter M. Hoogerwoerd, Esquire and Nathaly Lewis, Esquire, Remer
& Georges-Pierre, PLLC, 44 West Flagler, Street, Suite 2200, Miami, Florida 33130 /Primary.

pmh@rgpattorneys.com and nl@rgpattorneys.com].

s/ Brian Koji
ATTORNEY

2

ALLEN NORTON & BLUE, P.A.
SPDN-868764429-2221421 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 13 of 69
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IN THE CIRCUIT COURT IN AND FOR THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI DADE COUNTY, STATE OF FLORIDA

CIVIL DIVISION
MARIA ALBERRO MENENDEZ,
Plaintiff,
V. Case No. 2017-029598-CA-01
VILLAGE OF PINECREST,
Defendant.

 

 

ANSWER AND AFFIRMATIVE DEFENSES

 

The Defendant, the Village of Pinecrest, hereby submits its Answer and Affirmative
Defenses in response to the Plaintiff's Complaint. With respect to each separately numbered
paragraph of the Complaint, the Village responds as follows:

1. It is admitted that the Plaintiff's Complaint seeks in excess of $15,000 for an alleged
violation of the Florida Public-Sector Whistleblower Act. It is denied that the Plaintiff’s allegations
have any merit whatsoever or that she is entitled to any relief.

2. It is admitted that the Plaintiff's Complaint asserts that she was discharged
allegedly in violation of the Florida Public-Sector Whistleblower Act. It is denied that the
Plaintiff's allegations have any merit whatsoever or that she is entitled to any relief.

3, Without knowledge and therefore denied.

4. It is admitted that venue is proper in Miami-Dade County. The remaining
allegations of this paragraph are denied.

5. It is admitted that the Plaintiff filed a charge with the EEOC in June 2017. The
remaining allegations of this paragraph are denied.

6. Denied.

ALLEN NORTON & BLUE, P.A.
SPDN-868764429-2221422 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 14 of 69

7. Denied.
8. Denied.
9, Denied.

10. It is admitted that the Defendant provided the Plaintiff a letter, dated June 27, 2017,
notifying her of her discharge from employment, effective June 21, 2017. The remaining
allegations of this paragraph are denied.

11. Without knowledge and therefore denied.

12. Without knowledge and therefore denied.

13. | Without knowledge and therefore denied.

14. It is admitted that the Plaintiff is female and over the age of 40. It is further admitted
that the Plaintiff was employed by the Defendant as its Assistant Village Manager from March

2012 through June 21, 2017. The remaining allegations of this paragraph are denied.

15. Denied.
16. Denied.
17. Denied.

18. Without knowledge and therefore denied.
19. —_ It is admitted that, as Assistant Village Manager, the Plaintiff served as the acting
Village Manager at times when the Village Manager was on leave. The remaining allegations of

this paragraph are denied.

20. Denied.
21. Denied.
22. Denied.
23. Denied.

2

ALLEN NORTON & BLUE, PA.
SPDN-868764429-2221422 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 15 of 69

24. ~~ Denied.

25. Denied.

26. It is admitted that the Defendant provided the Plaintiff a letter dated, June 27, 2017,
notifying her of her discharge from employment effective June 21, 2017. The remaining
allegations of this paragraph are denied.

27. Denied.

COUNTI
28, The Defendant reasserts its responses to paragraphs 1-27 above.
29. It is admitted that the Plaintiff quotes from portions of Section 112.3187. The

remaining allegations of this paragraph are denied.

30. Denied.
31. Denied.
32. Denied.
33. Denied.
34. Denied.

The Defendant denies that the Plaintiff is entitled to the relief requested or to any relief

whatsoever.
AFFIRMATIVE DEFENSES

1. The Plaintiff's discharge, and all other personnel actions taken with respect to the
Plaintiff's employment, was predicated on grounds other than, and would have been taken even in
the absence of, any alleged exercise of rights protected by section 112.3187 of the Florida Statutes.

2. All actions taken by the Village with respect to Plaintiff's employment were in
good faith compliance with all applicable laws, including section 112.3187 of the Florida Statutes.

3

ALLEN NORTON & BLUE, P.A.
SPDN-868764429-2221422 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 16 of 69

3. The Plaintiff's whistleblower claim fails as a matter of law as the Plaintiff has not
made any disclosures of the kind protected pursuant to section 112.3187 of the Florida Statutes or
in the manner required by section 112.3187. The Plaintiff did not submit a written complaint to
the Village’s chief executive officer or an appropriate local official, nor does the information
allegedly disclosed by the Plaintiff constitute protected disclosures as defined by the statute. The
allegedly protected information was not disclosed in a written and signed complaint on the
Plaintiff's own initiative. § 112.3187(5), (6), (7), Fla. Stat. (2017).

4. Any allegedly-protected disclosures made by the Plaintiff were made with malice,
in bad faith, and based on knowingly false assertions. Accordingly, any such disclosures were not
protected by Section 112.3187.

5. The Plaintiff's claims, in whole or in part, are barred by the statute of limitations
set forth in section 112.3187(8) of the Florida Statutes.

6. Any relief sought by the Plaintiff in this case is subject to the limitations imposed
by applicable law. Additionally, compensatory damages for emotional anguish, pain and suffering,
and loss of dignity are not available remedies under section 112.3187 of the Florida Statutes.
Likewise, punitive damages are unavailable under section 112.3187 of the Florida Statutes and
under applicable law. City of Newport v. Fact Concerts, Inc., 453 U.S. 247 (1981).

7. To the extent that the Plaintiff has not mitigated the damages she claims to have
suffered, any damages otherwise available to her are properly reduced or precluded altogether.

8. Any recovery available to the Plaintiff is properly reduced by the amount of her

interim earnings.

4

ALLEN NORTON & BLUE, P.A.
SPDN-868764429-222 1422 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 17 of 69

NOTICE OF INTENT TO SEEK ATTORNEY’S FEES & COSTS
In accordance with any applicable Florida law, the Village hereby notifies the Plaintiff that
it intends to seek an award of attorney’s fees and costs for having to defend this matter.

Respectfully submitted,

s/ Brian Koji

BRIAN KOJI

Florida Bar No. 0116297
Counsel for Defendant

ALLEN NORTON & BLUE, P.A.

Hyde Park Plaza - Suite 225

324 South Hyde Park Avenue

Tampa, Florida 33606-4127

(813) 251-1210 | (813) 253-2006 — Fax

Primary: bkoji@anblaw.com

Secondary: tcarnevalini@anblaw.com
amcclanahan@anblaw.com

CERTIFICATE OF SERVICE
1 HEREBY CERTIFY that on this 17th day of April 2018, a true and correct copy of the
foregoing was electronically filed using the Florida Courts E-Filing Portal, which will send a
notice of electronic filing to Peter M. Hoogerwoerd, Esquire and Nathaly Lewis, Esquire, Remer
& Georges-Pierre, PLLC, 44 West Flagler, Street, Suite 2200, Miami, Florida 33130 /Primary:

pmh@rgpattorneys.com and nl@rgpattorneys.com].

s/ Brian Koji
ATTORNEY

5

ALLEN NORTON & BLUE, P.A.
SPDN-868764429-222 1422 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 18 of 69

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IN THE CIRCUIT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA

CIVIL DIVISION
MARIA ALBERRO MENENDEZ,
Plaintiff,
Vv. Case No.: 2017-029598-CA-01
VILLAGE OF PINECREST,
Defendant.

 

NOTICE OF TAKING DEPOSITION
DUCES TECUM OF PLAINTIFF

PLEASE TAKE NOTICE that Defendant, VILLAGE OF PINECREST by and through its
undersigned counsel, will take the deposition duces tecum, by oral examination, of the person named

below at the date, time and location indicated:

WITNESS DATE AND TIME LOCATION
MARIA MENENDEZ June 25,2018 Esquire Deposition Solutions
10:00 A.M. 44 West Flagler Street
14" Floor

Miami, Florida 33130
Phone: (305)371-2713

The deposition will be taken before an associate or deputy court reporter and Notary Public
who is not of counsel to the parties or interested in the events of the cause and duly authorized by
law to take depositions. This deposition duces tecum is being taken for the purpose of discovery,
for use at trial, or for such other purposes as are permitted under the applicable and governing rules
without limitation and shall continue from day to day until completed.

Pursuant to Rule 1.310(b)(1) of the Florida Rules of Civil Procedure, the deponent shall

bring with her to the deposition, a copy of the following: _ SEE ATTACHMENT A

If you fail to comply, you may be in contempt of court.

ALLEN NORTON & BLUE, P.A.
SPDN-868764429-2228246 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 19 of 69

Dated this 11" day of May, 2018.

Respectfully submitted,

/s/ Brian Koji

BRIAN KOJI

Florida Bar No. 0116297
Counsel for Defendant

ALLEN, NORTON & BLUE, P.A.
Hyde Park Plaza - Suite 225

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Tampa, Florida 33606-4127

(813) 251-1210

(813) 253-2006 — Fax

E-mail: bkoji@anblaw.com

ameclanahan@anblaw.com

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 11th day of May 2018, a true and correct copy of the

foregoing was electronically filed using the Florida Courts E-Filing Portal, which will send a

notice of electronic filing to Peter M. Hoogerwoerd, Esquire and Nathaly Lewis, Esquire, Remer

& Georges-Pierre, PLLC, 44 West Flagler, Street, Suite 2200, Miami, Florida 33130 /Primary:

pmh@rgpattorneys.com and nl@rgpattorneys.com].

SPDN-868764429-2228246

2

/s/ Brian Koji
ATTORNEY

 

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 20 of 69

ATTACHMENT A

Instructions and Definitions
1, If any documentation is claimed to be immune from discovery on the grounds of
privilege, please provide a privilege log indicating the author, recipient, date and general subject
matter of the document, together with the basis on which the privilege is asserted, in lieu of

producing the documentation.

2. In responding to this request, provide such documentation as is available to you,
not merely such documentation as is within your own immediate possession. This means you are
to furnish documentation which is known by or in the possession of your employees,

representatives or agents, including your attorney(s).

3. If any of the documentation cannot be produced in full, then produce to the extent

possible and specify reasons for the inability to produce the remainder.

4. The terms “documentation” or “documents” shall include, but is not limited to,
letters, correspondence, text messages, emails, social media posts, online comments, online
content, saved google chats, Ichats, facsimiles, printouts, memoranda, records of meetings,
conferences, telephone or other communications, pamphlets, books, notes, reports, studies,
transcripts, indexes, accounting records of any kind, charts, tabulations, lists, analyses, graphs,
diagrams, estimates, minutes, tapes, photographs, screen shots, posted/shared pictures on any
social media accounts, sound recordings, digital recordings, phonograph records, video tapes, and

data compilations.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 21 of 69

Documents Requested

1. Any documentation you sent to or received from the EEOC at any time from January
2017 to the present;

2. Any documentation reflecting any whistleblower complaints submitted, or protected
activity engaged in, by you during your employment with the Village of Pinecrest;

3. Any documentation reflecting any complaints or grievances submitted to Pinecrest by
you at any time;

4, All text messages, social media posts, and emails, which reference Pinecrest,
Pinecrest’s employees, or any matters relating to Pinecrest, and which were sent or
received during the period from May 30, 2017 to July 1, 2017;

5. Any documentation relating to your evaluations while employed by Pinecrest,
including any documentation pertaining to any objections to evaluations and any
requests or communications to revise evaluations;

6. Any documentation you sent to or received from the City of Coral Gables or any of its
employees, officials, or representatives from January 2017 to the present and which, in
any way, relate to your employment with Pinecrest, any employees of officials of
Pinecrest, your alleged whistleblower activities, your prior employment with Coral
Gables, potential prospective employment with Coral Gables, or potential prospective
employment with any other employer;

7. Any documentation evidencing any efforts made by you to obtain employment with
any prospective employer from January 2016 through the present,

8. Any documentation relating to any employment you have held since being discharged
by Pinecrest;

9, Any documentation relating to any income, pay, benefits, or other remuneration
received by you from the date of your discharge from Pinecrest through the present;

10. Any documentation relating to or establishing the existence of any disability you had
at any time during your employment with Pinecrest;

11. Any documentation reflecting any request for accommodation of your disability that
the Plaintiff made to Pinecrest at any time during her employment;

12, Any documentation reflecting any alleged harassment, discrimination, or retaliation
allegedly directed toward you by any employee or official of Pinecrest,

13. Any documentation pertaining to any medical attention you sought as a result of any
alleged discrimination, harassment, or retaliation;
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 22 of 69

14. Any documentation reflecting any damages you are seeking in this case;

15. Any documentation reflecting any efforts by you to obtain reemployment assistance
benefits after her separation from Pinecrest;

16. Any documentation reflecting any inquiries, from January 2017 to the present,
concerning your retirement or pension.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 23 of 69

Filing # 72047442 E-Filed 05/11/2018 04:39:27 PM

IN THE CIRCUIT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA

CIVIL DIVISION
MARIA ALBERRO MENENDEZ,
Plaintiff,
v. Case No.: 2017-029598-CA-01
VILLAGE OF PINECREST,
Defendant.

 

AMENDED NOTICE OF TAKING DEPOSITION
DUCES TECUM OF PLAINTIFF
(As To Location Only)
PLEASE TAKE NOTICE that Defendant, VILLAGE OF PINECREST by and through its

undersigned counsel, will take the deposition duces tecum, by oral examination, of the person named

below at the date, time and location indicated:

WITNESS DATE AND TIME LOCATION
MARIA MENENDEZ June 25,2018 Weiss Serota Helfman Cole
10:00 A.M. & Bierman Firm
2525 Ponce de Leon Blvd.
Suite 700

Coral Gables, FL 33134
Phone: (305) 854-0800

The deposition will be taken before an associate or deputy court reporter and Notary Public
who is not of counsel to the parties or interested in the events of the cause and duly authorized by
law to take depositions. This deposition duces tecum is being taken for the purpose of discovery,
for use at trial, or for such other purposes as are permitted under the applicable and governing rules
without limitation and shall continue from day to day until completed.

Pursuant to Rule 1.310(b)(1) of the Florida Rules of Civil Procedure, the deponent shall
bring with her to the deposition, a copy of the following: _ SEE ATTACHMENT A

If you fail to comply, you may be in contempt of court.

ALLEN NORTON & BLUE, P.A.
SPDN-868764429-2228300 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 24 of 69

Dated this 11" day of May, 2018.

Respectfully submitted,

/s/ Brian Koji

BRIAN KOJI

Florida Bar No. 0116297
Counsel for Defendant

ALLEN, NORTON & BLUE, P.A.
Hyde Park Plaza - Suite 225

324 South Hyde Park Avenue
Tampa, Florida 33606-4127

(813) 251-1210

(813) 253-2006 — Fax

E-mail: bkoji@anblaw.com

ameclanahan@anblaw.com

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 11th day of May 2018, a true and correct copy of the

foregoing was electronically filed using the Florida Courts E-Filing Portal, which will send a

notice of electronic filing to Peter M. Hoogerwoerd, Esquire and Nathaly Lewis, Esquire, Remer

& Georges-Pierre, PLLC, 44 West Flagler, Street, Suite 2200, Miami, Florida 33130 [Primary.

pmh@rgpattorneys.com and nl@rgpattorneys.com].

SPDN-868764429-2228300

2

/s/ Brian Koji
ATTORNEY

 

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 25 of 69

ATTACHMENT A

Instructions and Definitions
1. If any documentation is claimed to be immune from discovery on the grounds of
privilege, please provide a privilege log indicating the author, recipient, date and general subject
matter of the document, together with the basis on which the privilege is asserted, in lieu of

producing the documentation.

2. In responding to this request, provide such documentation as is available to you,
not merely such documentation as is within your own immediate possession. This means you are
to furnish documentation which is known by or in the possession of your employees,

representatives or agents, including your attorney(s).

3. If any of the documentation cannot be produced in full, then produce to the extent

possible and specify reasons for the inability to produce the remainder.

4. The terms “documentation” or “documents” shall include, but is not limited to,
letters, correspondence, text messages, emails, social media posts, online comments, online
content, saved google chats, Ichats, facsimiles, printouts, memoranda, records of meetings,
conferences, telephone or other communications, pamphlets, books, notes, reports, studies,
transcripts, indexes, accounting records of any kind, charts, tabulations, lists, analyses, graphs,
diagrams, estimates, minutes, tapes, photographs, screen shots, posted/shared pictures on any
social media accounts, sound recordings, digital recordings, phonograph records, video tapes, and

data compilations.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 26 of 69

Documents Requested

1. Any documentation you sent to or received from the EEOC at any time from January
2017 to the present;

2. Any documentation reflecting any whistleblower complaints submitted, or protected
activity engaged in, by you during your employment with the Village of Pinecrest;

3. Any documentation reflecting any complaints or grievances submitted to Pinecrest by
you at any time;

4. All text messages, social media posts, and emails, which reference Pinecrest,
Pinecrest’s employees, or any matters relating to Pinecrest, and which were sent or
received during the period from May 30, 2017 to July 1, 2017;

5. Any documentation relating to your evaluations while employed by Pinecrest,
including any documentation pertaining to any objections to evaluations and any
requests or communications to revise evaluations;

6. Any documentation you sent to or received from the City of Coral Gables or any of its
employees, officials, or representatives from January 2017 to the present and which, in
any way, relate to your employment with Pinecrest, any employees of officials of
Pinecrest, your alleged whistleblower activities, your prior employment with Coral
Gables, potential prospective employment with Coral Gables, or potential prospective
employment with any other employer;

7. Any documentation evidencing any efforts made by you to obtain employment with
any prospective employer from January 2016 through the present,

8. Any documentation relating to any employment you have held since being discharged
by Pinecrest;

9. Any documentation relating to any income, pay, benefits, or other remuneration
received by you from the date of your discharge from Pinecrest through the present;

10. Any documentation relating to or establishing the existence of any disability you had
at any time during your employment with Pinecrest;

11. Any documentation reflecting any request for accommodation of your disability that
the Plaintiff made to Pinecrest at any time during her employment;

12. Any documentation reflecting any alleged harassment, discrimination, or retaliation
allegedly directed toward you by any employee or official of Pinecrest;

13, Any documentation pertaining to any medical attention you sought as a result of any
alleged discrimination, harassment, or retaliation;
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 27 of 69

14. Any documentation reflecting any damages you are seeking in this case;

15. Any documentation reflecting any efforts by you to obtain reemployment assistance
benefits after her separation from Pinecrest;

16. Any documentation reflecting any inquiries, from January 2017 to the present,
concerning your retirement or pension.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 28 of 69

Filing # 73205897 E-Filed 06/07/2018 08:30:23 AM

IN THE CIRCUIT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA

CIVIL DIVISION
MARIA ALBERRO MENENDEZ,
Plaintiff,
Vv. Case No.: 2017-029598-CA-01
VILLAGE OF PINECREST,
Defendant.

 

SECOND AMENDED NOTICE OF TAKING DEPOSITION
DUCES TECUM OF PLAINTIFF
(As to Date Only)

PLEASE TAKE NOTICE that Defendant, VILLAGE OF PINECREST by and through its
undersigned counsel, will take the deposition duces tecum, by oral examination, of the person named

below at the date, time and location indicated:

WITNESS DATE AND TIME LOCATION
MARIA MENENDEZ June 26,2018 Weiss Serota Helfman Cole
10:00 A.M. & Bierman Firm
2525 Ponce de Leon Blvd.
Suite 700

Coral Gables, FL 33134
Phone: (305) 854-0800

The deposition will be taken before an associate or deputy court reporter and Notary Public
who is not of counsel to the parties or interested in the events of the cause and duly authorized by
law to take depositions. This deposition duces tecum is being taken for the purpose of discovery,
for use at trial, or for such other purposes as are permitted under the applicable and governing rules
without limitation and shall continue from day to day until completed.

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bring with her to the deposition, a copy of the following: _SEE ATTACHMENT A

If you fail to comply, you may be in contempt of court.

ALLEN NORTON & BLUE, P.A,
SPDN-868764429-223 1235 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 29 of 69

Dated this 7 day of June, 2018.

Respectfully submitted,

s/ Brian Koji

BRIAN KojJI

Florida Bar No. 0116297
Counsel for Defendant

ALLEN, NORTON & BLUE, P.A.
Hyde Park Plaza - Suite 225

324 South Hyde Park Avenue
Tampa, Florida 33606-4127

(813) 251-1210

(813) 253-2006 — Fax

E-mail: bkoji@anblaw.com

amcclanahan@anblaw.com

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 7 day of June 2018, a true and correct copy of the

foregoing was electronically filed using the Florida Courts E-Filing Portal, which will send a

notice of electronic filing to Peter M. Hoogerwoerd, Esquire and Nathaly Lewis, Esquire, Remer

& Georges-Pierre, PLLC, 44 West Flagler, Street, Suite 2200, Miami, Florida 33130 [Primary:

pmh@rgpattorneys.com and nl@rgpattorneys.com].

SPDN-868764429-223 1235

2

s/ Brian Koji
ATTORNEY

 

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 30 of 69

Filing # 73433719 E-Filed 06/12/2018 01:13:21 PM

12IN THE CIRCUIT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA

CIVIL DIVISION
MARIA ALBERRO MENENDEZ,
Plaintiff,
v. Case No.: 2017-029598-CA-01
VILLAGE OF PINECREST,
Defendant.

 

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DUCES TECUM OF PLAINTIFF
(As to Date Only)

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10:00 A.M. & Bierman Firm
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Coral Gables, FL 33134
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SPDN-868764429-223 1235 PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 31 of 69

Dated this 12 day of June, 2018.

Respectfully submitted,

s/ Brian Koji

BRIAN KOJI

Florida Bar No. 0116297
Counsel for Defendant

ALLEN, NORTON & BLUE, P.A.
Hyde Park Plaza - Suite 225

324 South Hyde Park Avenue
Tampa, Florida 33606-4127

(813) 251-1210

(813) 253-2006 — Fax

E-mail: bkoji@anblaw.com

amceclanahan@anblaw.com

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& Georges-Pierre, PLLC, 44 West Flagler, Street, Suite 2200, Miami, Florida 33130 /Primary:

pmh@rgpattorneys.com and nl@rgpattorneys.com].

SPDN-868764429-223 1235

2

s/ Brian Koji
ATTORNEY

 

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 32 of 69

ATTACHMENT A

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content, saved google chats, Ichats, facsimiles, printouts, memoranda, records of meetings,
conferences, telephone or other communications, pamphlets, books, notes, reports, studies,
transcripts, indexes, accounting records of any kind, charts, tabulations, lists, analyses, graphs,
diagrams, estimates, minutes, tapes, photographs, screen shots, posted/shared pictures on any
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Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 33 of 69

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2. Any documentation reflecting any whistleblower complaints submitted, or protected
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3. Any documentation reflecting any complaints or grievances submitted to Pinecrest by
you at any time;

4, All text messages, social media posts, and emails, which reference Pinecrest,
Pinecrest’s employees, or any matters relating to Pinecrest, and which were sent or
received during the period from May 30, 2017 to July 1, 2017,

5. Any documentation relating to your evaluations while employed by Pinecrest,
including any documentation pertaining to any objections to evaluations and any
requests or communications to revise evaluations,

6. Any documentation you sent to or received from the City of Coral Gables or any of its
employees, officials, or representatives from January 2017 to the present and which, in
any way, relate to your employment with Pinecrest, any employees of officials of
Pinecrest, your alleged whistleblower activities, your prior employment with Coral
Gables, potential prospective employment with Coral Gables, or potential prospective
employment with any other employer;

7. Any documentation evidencing any efforts made by you to obtain employment with
any prospective employer from January 2016 through the present;

8. Any documentation relating to any employment you have held since being discharged
by Pinecrest;

9, Any documentation relating to any income, pay, benefits, or other remuneration
received by you from the date of your discharge from Pinecrest through the present;

10, Any documentation relating to or establishing the existence of any disability you had
at any time during your employment with Pinecrest;

11. Any documentation reflecting any request for accommodation of your disability that
the Plaintiff made to Pinecrest at any time during her employment,

12. Any documentation reflecting any alleged harassment, discrimination, or retaliation
allegedly directed toward you by any employee or official of Pinecrest,

13. Any documentation pertaining to any medical attention you sought as a result of any
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Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 34 of 69

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15, Any documentation reflecting any efforts by you to obtain reemployment assistance
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16. Any documentation reflecting any inquiries, from January 2017 to the present,
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Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 35 of 69
Filing # 73634528 E-Filed 06/15/2018 01:26:05 PM

IN THE CIRCUIT COURT OF THE11"
JUDICIAL CIRCUIT IN AND FOR
MIAMI-DADE COUNTY, FLORIDA

MARIA ALBERRO MENENDEZ,
Plaintiff, CASE NO. 2017-029598-CA-01

Vv.
VILLAGE OF PINECREST

Defendant,

PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT
Plaintiff, MARIA ALBERRO MENENDEZ (‘Plaintiff’), hereby moves the Court for leave to amend her

Complaint against Defendant VILLAGE OF PINECREST (“Defendant”). In support thereof, Plaintiff
additionally states as follows:
1. On or about December 23, 2017, Plaintiff filed her complaint in this action for damages due
Defendant’s violations of the Florida Public Sector Whistleblower Act Fla. Stat.

Sec112.3187.

2. Florida Rules of Civil Procedure 1.190 (e) provides: “[a]t any time in furtherance of justice, upon
such terms as may be just the court may permit any . . . pleading . . . to be amended or material
supplemental matter to be set forth in an amended or supplemental pleading." see also Fla. R. Civ.
P. 1.250(c)Gif amendment of pleading is permitted, parties may be added in an amended pleading
without further order of the court).

3. Public policy favors the liberal amendment of pleadings so that cases can be tried on their merits
and all doubts should be resolved in favor of allowing amendment. State Farm Fire & Cas. Co. v.
Fleet Fin. Corp., 724 So. 2d 1218, 1219 (Fla. 5" DCA 1998); Sun Valley Homeowners Inc., v.

American Land Lease Inc., 927 So. 2d 259 (Fla. 2nd DCA 2006).
1
‘Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 36 of 69

4. It is well established under Florida law that a party should be given leave to amend a pleading
unless said party has abused the amendment privilege; allowing the amendment would prejudice the
other party; or the amendment would be futile. See Morgan Co. Inc. v. Orange County, 818 So. 2d
640 (Fla. 5th DCA 2002); Greene v. Well Care HMO, Inc., 778 So. 2d 1037 (Fla. 4th DCA 2001)
see also Villa Riviera Club, Inc. v. Dilesh Enters., Inc., 743 So. 2d 115, 117 (Fla. 5" DCA
1999)(determining factor in granting or refusing motion for leave to amend is prejudice); Dingess v.
Florida Aircraft Sales & Leasing, Inc., 442 So. 2d 431, 432 (Fla 5" DCA 1983)(leave to amend
should not be denied unless privilege has been abused or complaint is clearly not amendable).

5. This is Plaintiffs first request to amend her complaint and will not prejudice the Defendants. The
amendment is necessary as Plaintiff seeks to include a counts to redress injuries resulting from
Defendant’s unlawful, disability, age, and sex-based discriminatory treatment towards
Plaintiff pursuant to the Florida Civil Rights Act, §760.01, et seq., Florida Statutes
(“FCRA”); Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e-2 (“Title VII”); the
Americans With Disabilities Act (ADA), the Americans with Disabilities Act Amendments
Act (ADAAA) 42 U.S.C. §§ 12101 et seq.; and the Age Discrimination in Employment
Act of 1967, 29 U.S.C. §§ 621-634 (“ADEA”); and for redress of Plaintiff's depravation of
rights in violation 42 U.S.C. §1983, Civil Action for Depravation of Rights.

6. Plaintiff's proposed Amended Complaint is attached to this Motion as Exhibit A and undersigned
counsel requests that the Court enters an order deeming the Amended Complaint as filed on the date
of the Court’s order granting this motion, pursuant to Florida Rule of Civil Procedure 1.190(a),

7. In the case at bar, Plaintiff's Motion for Leave to Amend her complaint should be granted because

there is no “substantial reason” to deny it.

8. This motion is made in good faith and not for the purpose of delay.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 37 of 69

WHEREFORE, Plaintiff requests this Honorable Court grant this Motion for Leave to Amend the

Complaint and deem Plaintiff’s attached Amended Complaint as Exhibit A, filed as of the date granting

this motion.

Dated: June 15, 2018

Respectfully Submitted,

(s/Nathaly Lewis
Peter M. Hoogerwoerd, Esq.

Fla. Bar No.: 0188239
pmh@rgpattorneys.com

Nathaly Lewis, Esq.

Fla. Bar No. 118315
nl@rgpattorneys.com

Remer & Georges-Pierre, PLLC
44 West Flagler Street, Suite 2200
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(305) 416-5000- Telephone

(305) 416-5005- Facsimile
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 38 of 69

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on June 15, 2018, I electronically filed the foregoing document with

the Clerk of the Court. I also certify that the foregoing document is being served this day on
all counsel of record or pro se parties, either via electronic transmission of Notices generated by
the Florida Courts E-Filing Portal or in some other authorized manner for those counsel or parties
who are not authorized to receive such Notices in compliance with Florida Rule of Judicial

Administration 2.516.

/s/ Nathaly Lewis
NATHALY LEWIS, ESQ.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 39 of 69

Peter Michael Hoogerwoerd, Esq.
Florida Bar No.: 188239

Email: pnh@rgpattorneys.com
Nathaly Lewis, Esq.

Florida Bar No.:118315

Email: nl@rgpattorneys.com
REMER & GEORGES-PIERRE, PLLC
44 West Flagler Street, Suite 2200
Miami, Florida 33130

Telephone: (305) 416-5000
Facsimile: (305) 416-5005

Attorneys for Plaintiff

BRIAN KOJI

Florida Bar No. 0116297

ALLEN, NORTON & BLUE, P.A.
Hyde Park Plaza - Suite 225

324 South Hyde Park Avenue
Tampa, Florida 33606-4127

(813) 251-1210

(813) 253-2006 — Fax

E-mail: bkoji@anblaw.com

ameclanahan@anblaw.com

Counsel for Defendant

Served Via E-Service
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 40 of 69

EXHIBIT A
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 41 of 69

IN THE CIRCUIT COURT OF THE11"
JUDICIAL CIRCUIT IN AND FOR
MIAMI-DADE COUNTY, FLORIDA

MARIA ALBERRO MENENDEZ,

 

Plaintiff, CASE NO. 2017-029598-CA-01
V.
VILLAGE OF PINECREST
Defendant,
/
AMENDED COMPLAINT

COMES NOW, Plaintiff, MARIA ALBERRO MENENDEZ, (hereinafter “Plaintiff’), by and

through the undersigned counsel, hereby sues Defendant, VILLAGE OF PINECREST

(hereinafter ““Defendant”), and in support avers as follows:

GENERAL ALLEGATIONS

1. This is an action by the Plaintiff for damages exceeding $15,000 excluding attorneys’
fees or costs for damages due Defendant’s violations of the Florida Public Sector
Whistleblower Act Fla. Stat. Secl 12.3187, for damages due to disability discrimination,
age, and sex discrimination, in the Florida Civil Rights Act, §760.01, et seq., Florida
Statutes (“FCRA”); Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e-2 (“Title
VII’); the Americans With Disabilities Act (ADA), the Americans with Disabilities Act
Amendments Act (ADAAA) 42 U.S.C. §§ 12101 et seq.; and the Age Discrimination in
Employment Act of 1967, 29 U.S.C. §§ 621-634 (“ADEA”); and for redress of Plaintiff's
depravation of rights in violation 42 U.S.C. §1983, Civil Action for Depravation of
Rights.

2. Plaintiff alleges a cause of action for retaliation under Florida Statutes §112.3187,
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 42 of 69

Florida Statutes as a result of her dismissal for objecting to violations of law, rule and
regulation committed, ratified and/or condoned by Defendant.

3. At all times material hereto, Plaintiff was a resident of Miami Dade County, Florida.

4. Venue is proper in Miami Dade County because all of the actions that form the basis of
this Complaint occurred within Miami Dade County.

Js On June 2, 2017, Plaintiff filed a charge of employment discrimination with the
Equal Employment Opportunity Commission (“EEOC”) which was dually filed with
the Florida Commission on Human Relations, and which articulated Plaintiff's
whistleblower complaint of certain Village employees, including the Village Clerk’s,
theft of wages, time, and abuse of illegal spending of public funds.

6. On June 4, 2017, Plaintiff filed a memo requesting preservation of Defendant’s
network traffic and data for routers, switches, etc. due to unauthorized access to
Plaintiff's personal information.

7. On June 4, 2017, Plaintiff filed a “Whistle-Blower” complaint to the Defendant
outlining illegal activity/ fraud.

8. On June 5, 2017, Defendant placed Plaintiff on administrative leave after meeting with
the Village Manager and an Administrative Assistant Alngela Gasca. Plaintiff again
requested a hearing regarding her separation of employment.

9. On or about June 5, 2017, Plaintiff filed an Amended Charge of Discrimination.

10. Plaintiff received a termination letter, dated June 27, 2017. Plaintiff was not afforded
a hearing in compliance with the Village Ordinances and/or the Florida
Commission on Human Relations procedures for investigation of public whistleblower

complaints.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 43 of 69

11. On or about March 30, 2018, the Equal Employment Opportunity Commission
(“EEOC”) issued the Dismissal and Notice of Rights (the “right to sue”).

12. The original Complaint was filed within 180 days of Defendant’s Letter of Termination,
dated June 27, 2017, which caused plaintiff to be fired without a hearing, and after over
thirty-five years of public-sector service and this Amended Complaint is filed within the
90 days as prescribed the right to sue.

13. All conditions precedent for the filing of this action before this Court have been
previously met, including the exhaustion of all pertinent administrative procedures and

remedies.

 

14. _—‘ Plaintiff| a female over forty (40) years old with a disability was employed by
Defendant from March 2012 through June 21, 2017 as an assistant village manager.

15. Plaintiff was at all times qualified for her job, and consistently received “Above
Satisfactory” annual evaluations.

16. Plaintiff had no reprimands or disciplinary actions in her over five (5) years of
employment with the village.

17. Plaintiff was assessed by her peers and an elected village official that resulted in high
ratings for her management and leadership skills.

18. Plaintiff has been publically recognized by the International City/County Manager’s
Association (ICMA) as a “Credential Manager” and for her thirty-five (35) years of
local government services.

19. Plaintiff was acting village manager during the Village Manager’s extended medical

leaves.
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 44 of 69

20. On or about June 2012, Plaintiff was diagnosed with cancer. Plaintiff’s condition along
with the fact that she is a woman over forty (40) has affected her levels of estrogen
causing weight gain.

21. Plaintiff complained frequently about the Village Manager and Village Clerk
“stealing time,” and misappropriation of Village funds.

22. ‘Thereafter, Village Clerk, Inguanzo would constantly single out Plaintiff and exclude
her from notifications of Village events, and tell Plaintiff's supervisor that Plaintiff
needed to be terminated.

23. In addition, throughout her employment, Plaintiff was subjected to ridicule and disparate
treatment by the village clerk Guido Inguanzo (hereinafter “Inguanzo”) and Yoceline
Galiano (hereinafter “Galiano’”).

24. Specifically, Inguanzo ridiculed Plaintiff in front of other co-workers because of her
weight and constantly harassed Plaintiff regarding her work schedule even though
Plaintiff always completed her projects in a timely manner.

25. Plaintiff has never received recognition for her work. However, other similarly
situated younger male(s) without a disability were often recognized and awarded for
their work.

26. Plaintiff made several complaints regarding Village Clerk,Inguanzo’s misappropriation
of funds and stealing of time.

27. Subsequently, Village Clerk Inguanzo, surreptitiously placed spyware on Plaintiffs
computer, in an effort to eviscerate Plaintiff's ability to complain about employee theft
of Village funds and time.

28. On or about June 5, 2017, Plaintiff was verbally told by her supervisor to pack her
Case 1:18-cv-22590-JEM Document 1-1 Entered on FLSD Docket 06/27/2018 Page 45 of 69

29.

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34,

personal items, that she was going to be placed on administrative leave until the end of
the year and if she refused, that the plaintiff would be terminated.

On June 27, 2017, Plaintiff was terminated.

Upon information and belief, Defendant’s reason for termination (if any) is pretextual.

COUNT I
Violation of §112.3187, Florida

Plaintiff re-alleges the allegations contained in paragraphs 1 through 30 above as if
fully set forth herein.
Section 112.3187(2), Florida Statutes states in relevant part:

“(2) LEGISLATIVE INTENT -- It is the intent of the Legislature to
prevent agencies or independent contractors from taking retaliatory
action against an employee who reports to an appropriate agency
violations of law on the part of a public employer or independent
contractor that create a substantial and specific danger to the public’s
health, safety, or welfare.”

(4) ACTIONS PROHIBITED —
(a) An agency or independent contractor shall not dismiss,
discipline, or take any other adverse personnel action against an
employee for disclosing information pursuant to the provisions of this
section.
(b) An agency or independent contractor shall not take any
adverse action that affects the rights or interests of a person in
retaliation for the person’s disclosure of information under this
section.

The term “agency” under §112.3187, Florida Statutes includes Defendant

State agency.

During her employment tenure with Defendant, Plaintiff reported acts of gross

mismanagement, malfeasance, and misfeasance committed by Defendant that were
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violations of the public health, safety, and welfare.

35. Asa direct and proximate result of Plaintiff's reporting, Defendant terminated Plaintiff's
employment.
36.  Asaresult of Defendant’s conduct, and its willful and malicious discharge of Plaintiff's

employment for objecting to violations of law, rule and regulation, Plaintiff has
experienced and will continue to experience significant financial and economic loss in
the form of lost wages and lost benefits. Plaintiff has also experienced and will
continue to experience emotional anguish, pain and suffering and loss of dignity
damages. Plaintiff accordingly demands lost economic damages in the form of back pay
and front pay, compensation for her lost benefits, as well as compensatory damages.
37. Plaintiff also demands her attorney’s fees and costs as provided by law.

WHEREFORE, Plaintiff prays for the entry of a judgment against Defendant and award her
economic damages in the form of back pay and front pay, compensatory and punitive
damages, attorney’s fees and costs as a result of Defendant’s retaliatory conduct in

violation of §112.3187, Florida Statutes, as well as any and all other relief permitted by

law.
COUNT II
Disability Discrimination in Violation of the ADA AND ADAAA
38. Plaintiff incorporates herein the allegations contained in paragraphs 1-30, inclusive, as though

same were fully re-written, and says:
39. Plaintiff is a member of a protected class under the ADA and ADAAA, to wit Plaintiff is a
Cancer patient who has gained weight due to affected levels of estrogen. Moreover,

Plaintiff was perceived as disabled due to her weight gain.
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40. Plaintiff was at all times qualified to perform the essential functions of her job with or without a
proposed reasonable accommodation. Plaintiff was a "qualified individual" as that term is defined
in the Americans with Disabilities Act Amendments Act (ADAAA), § 101(8) (42 U.S.C. §
12111(8)).

41, The ADA and the ADAAA prohibit employers from taking adverse employment action against
an employee as a result of his actual disability, as a result of an employee's record of having such
disability, and/or because the employer regards the employee as disabled, and further requires
employers to reasonably accommodate the actual disabilities and/or records of such disabilities of
their employees.

42, The adverse treatment to which Plaintiff was subjected by Defendant, including but not limited
to, Plaintiff's termination, as set forth above, was the direct and proximate result of Plaintiff's
perceived disability, which substantially limited her in one or more major life activity; and/or
Plaintiff's record of having such disability.

43. Defendant's alleged bases for its adverse treatment of Plaintiff, if any, are pretextual and asserted
only to cover up the discriminatory nature of its conduct.

44, Defendant’s stated reason for terminating is not based on any known facts in this case.

45, Even if Defendant could assert legitimate reasons for its adverse treatment of Plaintiff, which
reasons it did not/does not have, Plaintiff's perceived disability and/or Plaintiff's record of having
such a disability were also motivating factors for Defendant's adverse treatment of Plaintiff.

46. Defendant engaged in unlawful employment practices in violation of 42 USC §2000e-2 by
discriminating against Plaintiff because of her perceived disability by terminating her because of
her condition under the circumstances described above.

47. Plaintiff is entitled to such affirmative relief as may be appropriate, including but not limited to,

lost wages and benefits, pursuant to the provisions of Title VII of the Civil Rights Act of 1964,

§706(g).
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48. Plaintiff, based on information and belief, alleges that Defendant’s actions were done with
malice, and with disregard for his protected rights under Title VII of the Civil Rights Act of 1964.
Defendant, by and through its officers, and/or supervisors, authorized, condoned, and/or ratified
the unlawful conduct of Peter Cruz, and/or other employees. Therefore, Plaintiff is also entitled to
punitive damages from Defendant in a sum according to proof at trial.

49. Defendant’s alleged reason(s) terminating Plaintiff (if any) are pretextual as described above.

WHEREFORE, Plaintiff requests that this court enter judgment against Defendant for:

A. Actual damages as a result of Defendant’s discriminatory actions;
B. Punitive damages due to Defendant’s willful behavior;

C. Compensatory damages;

D. Injunctive relief where feasible;

E. Attormey’s fees;

F. Costs of this action; and

G. Any other relief this Court deems proper

COUNT Ill
Disability Discrimination in Violation of the FCRA

50. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-30 above as
if set out in full herein.

S51. Plaintiff is a member of a protected class under the FCRA, to wit, Plaintiff is a Cancer
patient who has gained weight due to affected levels of estrogen.

52. By the conduct describe above, Defendant has engaged in discrimination against Plaintiff
because of Plaintiff's disability and subjected the Plaintiff to disability -based animosity.

53. Such discrimination was based upon the Plaintiff's disability in that Plaintiff would not
have been the object of discrimination but for the fact that Plaintiff is a Cancer patient

who has gained weight due to affected levels of estrogen.
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54. Defendant’s conduct complained of herein was willful and in disregard of Plaintiff's
protected rights. Defendant and its supervisory personnel were aware that discrimination
on the basis of Plaintiffs disability was unlawful but acted in reckless disregard of the
law.

55. At all times material hereto, the employees exhibiting discriminatory conduct towards
Plaintiff possessed the authority to affect the terms, conditions, and privileges of
Plaintiff's employment with the Defendant.

56. Defendant retained all employees who exhibited discriminatory conduct toward the
Plaintiff and did so despite the knowledge of said employees engaging in discriminatory
actions.

57. As aresult of Defendant’s actions, as alleged herein, Plaintiff has been deprived of rights,
has been exposed to ridicule and embarrassment, and has suffered emotional distress and
damage.

58. The conduct of Defendant, by and through the conduct of its agents, employees, and/or
representatives, and the Defendant’s failure to make prompt remedial action to prevent
continued discrimination against the Plaintiff, deprived the Plaintiff of statutory rights
under federal law.

59. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and
with malice or reckless indifference to the Plaintiff's statutorily protected rights, thus
entitling Plaintiff to damages in the form of compensatory and punitive damages pursuant
to federal law, to punish the Defendant for its actions and to deter it, and others, from
such action in the future.

60. _—_— Plaintiff has suffered and will continue to suffer both irreparable injury and compensable
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damages as a result of Defendant’s discriminatory practices unless and until this

Honorable Court grants relief.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

A. Adjudge and decree that Defendant has violated the FCRA, and has done so willfully,
intentionally, and with reckless disregard for Plaintiffs rights;

B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay,
benefits' adjustment, and prejudgment interest at amounts to be proved at trial for the
unlawful employment practices described herein;

C. Enter an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering, and loss of enjoyment of life;

D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the
full benefits Plaintiff would have had Plaintiff not been discriminated against by
Defendant, or in lieu of reinstatement, award front pay;

E. Award Plaintiff the costs of this action, together with a reasonable attorneys’ fees;
and

F. Grant Plaintiff such additional relief as the Court deems just and proper under the
circumstances.

COUNT IV
Age Discrimination in Violation of the ADEA

57. Plaintiff re-adopts each and every general and factual allegation as stated in paragraphs 1-
30 above as if set out in full herein.

58. Plaintiff is a member of a protected class under the ADEA, to wit Plaintiff is over forty
(40) years of age.

59. By the conduct described above, Defendant has engaged in discrimination against
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Plaintiff because of Plaintiff's age and subjected the Plaintiff to age-based animosity.

60. Such discrimination was based upon the Plaintiff's age in that Plaintiff would not have
been the object of discrimination but for the fact that Plaintiff is over the age of forty
(40).

61. Defendant’s conduct complained of herein was willful and in disregard of Plaintiff's
protected rights. Defendant and its supervisory personnel were aware that discrimination
on the basis of Plaintiff's age was unlawful but acted in reckless disregard of the law.

62. At all times material hereto, the employees exhibiting discriminatory conduct towards
Plaintiff possessed the authority to affect the terms, conditions, and privileges of
Plaintiff's employment with the Defendant.

63. Defendant retained all employees who exhibited discriminatory conduct toward the
Plaintiff and did so despite the knowledge of said employees engaging in discriminatory
actions.

64. As a result of Defendant’s actions, as alleged herein, Plaintiff has been deprived of rights,
has been exposed to ridicule and embarrassment, and has suffered emotional distress and
damage.

65. | The conduct of Defendant, by and through the conduct of its agents, employees, and/or
representatives, and the Defendant’s failure to make prompt remedial action to prevent
continued discrimination against the Plaintiff, deprived the Plaintiff of statutory rights
under federal law.

66. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and
with malice or reckless indifference to the Plaintiff's statutorily protected rights, thus

entitling Plaintiff to damages in the form of compensatory and punitive damages pursuant
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to federal law, to punish the Defendant for its actions and to deter it, and others, from

such action in the future.

67. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable
damages as a result of Defendant’s discriminatory practices unless and until this
Honorable Court grants relief.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

A. Adjudge and decree that Defendant has violated the ADEA, and has done so
willfully, intentionally, and with reckless disregard for Plaintiff's rights;

B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay,
benefits’ adjustment, and prejudgment interest at amounts to be proved at trial for the
unlawful employment practices described herein;

C. Enter an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering, and loss of enjoyment of life;

D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the
full benefits Plaintiff would have had Plaintiff not been discriminated against by
Defendant, or in lieu of reinstatement, award front pay;

E. Award Plaintiff the costs of this action, together with a reasonable attorneys’ fees;
and

F. Grant Plaintiff such additional relief as the Court deems just and proper under the
circumstances.

COUNT V
Age Discrimination in Violation of the FCRA

68. Plaintiff re-adopts each and every general and factual allegation as stated in paragraphs 1-

30 above as if set out in full herein.
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69. Plaintiff is a member of a protected class under the FCRA, to wit Plaintiff if over forty
(40) years of age.

70. By the conduct describe above, Defendant has engaged in discrimination against Plaintiff
because of Plaintiff's age and subjected the Plaintiff to age-based animosity.

71. Such discrimination was based upon the Plaintiff's age in that Plaintiff would not have
been the object of discrimination but for the fact that Plaintiff is over the age of forty
(40).

72. Defendant’s conduct complained of herein was willful and in disregard of Plaintiff's
protected rights. Defendant and its supervisory personnel were aware that discrimination
on the basis of Plaintiff's age was unlawful but acted in reckless disregard of the law.

73. At all times material hereto, the employees exhibiting discriminatory conduct towards
Plaintiff possessed the authority to affect the terms, conditions, and privileges of
Plaintiff's employment with the Defendant.

74. Defendant retained all employees who exhibited discriminatory conduct toward the
Plaintiff and did so despite the knowledge of said employees engaging in discriminatory
actions.

75. Asaresult of Defendant’s actions, as alleged herein, Plaintiff has been deprived of rights,
has been exposed to ridicule and embarrassment, and has suffered emotional distress and
damage.

76. The conduct of Defendant, by and through the conduct of its agents, employees, and/or
representatives, and the Defendant’s failure to make prompt remedial action to prevent
continued discrimination against the Plaintiff, deprived the Plaintiff of statutory nghts

under federal law.
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77. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and
with malice or reckless indifference to the Plaintiff's statutorily protected rights, thus
entitling Plaintiff to damages in the form of compensatory and punitive damages pursuant
to federal law, to punish the Defendant for its actions and to deter it, and others, from
such action in the future.

78. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable
damages as a result of Defendant’s discriminatory practices unless and until this
Honorable Court grants relief.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

A. Adjudge and decree that Defendant has violated the FCRA, and has done so willfully,
intentionally, and with reckless disregard for Plaintiff's rights;

B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay,
benefits' adjustment, and prejudgment interest at amounts to be proved at trial for the
unlawful employment practices described herein;

C. Enter an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering, and loss of enjoyment of life;

D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the
full benefits Plaintiff would have had Plaintiff not been discriminated against by
Defendant, or in lieu of reinstatement, award front pay;

E. Award Plaintiff the costs of this action, together with a reasonable attorneys’ fees;
and

F. Grant Plaintiff such additional relief as the Court deems just and proper under the

circumstances.
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COUNT VI
Sex Discrimination in Violation of the Title VIT

61. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-30 above as
if set out in full herein.

62. Plaintiff is a member of a protected class under Title VII, to with Plaintiff is a female.

63. By the conduct describe above, Defendant has engaged in discrimination against Plaintiff
because of Plaintiff’s sex and subjected the Plaintiff to sex-based animosity.

64. Such discrimination was based upon the Plaintiffs sex in that Plaintiff would not have
been the object of discrimination but for the fact that Plaintiff is a female.

65. Defendant’s conduct complained of herein was willful and in disregard of Plaintiff's
protected rights. Defendant and its supervisory personnel were aware that discrimination
on the basis of sex was unlawful but acted in reckless disregard of the law.

66. At all times material hereto, the employees exhibiting discriminatory conduct towards
Plaintiff possessed the authority to affect the terms, conditions, and privileges of
Plaintiff's employment with the Defendant.

67. Defendant retained all employees who exhibited discriminatory conduct toward the
Plaintiff and did so despite the knowledge of said employees engaging in discriminatory
actions.

68. Asaresult of Defendant’s actions, as alleged herein, Plaintiff has been deprived of rights,
has been exposed to ridicule and embarrassment, and has suffered emotional distress and
damage.

69. The conduct of Defendant, by and through the conduct of its agents, employees, and/or
representatives, and the Defendant’s failure to make prompt remedial action to prevent

continued discrimination against the Plaintiff, deprived the Plaintiff of statutory rights
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under federal law.

70. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and
with malice or reckless indifference to the Plaintiff's statutorily protected rights, thus
entitling Plaintiff to damages in the form of compensatory and punitive damages pursuant
to federal law, to punish the Defendant for its actions and to deter it, and others, from
such action in the future.

71. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable
damages as a result of Defendant’s discriminatory practices unless and until this
Honorable Court grants relief.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

A. Adjudge and decree that Defendant has violated Title VII and has done so willfully,
intentionally, and with reckless disregard for Plaintiff's rights;

B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay,
benefits' adjustment, and prejudgment interest at amounts to be proved at trial for the
unlawful employment practices described herein;

C. Enter an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering, and loss of enjoyment of life;

D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the
full benefits Plaintiff would have had Plaintiff not been discriminated against by
Defendant, or in lieu of reinstatement, award front pay;

E. Award Plaintiff the costs of this action, together with a reasonable attorneys’ fees;
and

F,. Grant Plaintiff such additional relief as the Court deems just and proper under the
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circumstanices.

COUNT VII
Sex Discrimination in Violation of the FCRA

72. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-30 above as
if set out in full herein.

73. Plaintiff is a member of a protected class under the FCRA, to wit Plaintiff is a female.

74. By the conduct describe above, Defendant has engaged in discrimination against Plaintiff
because of Plaintiff's sex and subjected the Plaintiff to sex-based animosity.

75. Such discrimination was based upon the Plaintiff's sex in that Plaintiff would not have
been the object of discrimination but for the fact that Plaintiff is a female.

76. Defendant’s conduct complained of herein was willful and in disregard of Plaintiff's
protected rights. Defendant and its supervisory personnel were aware that discrimination
on the basis of sex was unlawful but acted in reckless disregard of the law.

77. At all times material hereto, the employees exhibiting discriminatory conduct towards
Plaintiff possessed the authority to affect the terms, conditions, and privileges of
Plaintiff's employment with the Defendant.

78. Defendant retained all employees who exhibited discriminatory conduct toward the
Plaintiff and did so despite the knowledge of said employees engaging in discriminatory
actions.

79. Asaresult of Defendant’s actions, as alleged herein, Plaintiff has been deprived of rights,
has been exposed to ridicule and embarrassment, and has suffered emotional distress and
damage.

80. The conduct of Defendant, by and through the conduct of its agents, employees, and/or

representatives, and the Defendant’s failure to make prompt remedial action to prevent
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continued discrimination against the Plaintiff, deprived the Plaintiff of statutory rights

under federal law.

81. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and
with malice or reckless indifference to the Plaintiff's statutorily protected rights, thus
entitling Plaintiff to damages in the form of compensatory and punitive damages pursuant
to federal law, to punish the Defendant for its actions and to deter it, and others, from
such action in the future.

82. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable
damages as a result of Defendant’s discriminatory practices unless and until this
Honorable Court grants relief.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

A. Adjudge and decree that Defendant has violated the FCRA, and has done so willfully,
intentionally, and with reckless disregard for Plaintiff's rights;

B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay,
benefits' adjustment, and prejudgment interest at amounts to be proved at trial for the
unlawful employment practices described herein;

C. Enter an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering, and loss of enjoyment of life;

D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the
full benefits Plaintiff would have had Plaintiff not been discriminated against by
Defendant, or in lieu of reinstatement, award front pay;

E. Award Plaintiff the costs of this action, together with a reasonable attorneys’ fees;

and
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F. Grant Plaintiff such additional relief as the Court deems just and proper under the

circumstances.

COUNT VIII
Violation Under 42 U.S.C. §1983 of the Due Process Clause of the 14" Amendment

83. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-30 above as
if set out in full herein.

84. Under 42 U.S.C. §1983, “Every person who under color of any statute, ordinance,
regulation, custom, or usage, of any State...subjects, or causes to be subjected any citizen
of the United States...to the depravation of any rights, privileges, or immunities secured
by the Constitution and laws, shall be liable to the party injured in an action at law...”

85. Defendant, THE VILLAGE OF PINECREST, by virtue of being a municipality and/or
local government is a considered a person under the 42 U.S.C. §1983.

86. Defendant, has exercised power by virtue of state law because it is clothed with the
authority of state law, to wit: Defendant terminated Plaintiff and deprived Plaintiff of her
property right for continued employment.

87. Asa result of Defendant’s action who implemented and/or executed a policy statement,
ordinance, regulation, or decision, Plaintiff was deprived of her rights.

88.  Defendant’s decision in terminating Plaintiff's employment was the moving force behind
Plaintiff's depravation of rights.

89. Defendant deprived Plaintiff of her rights through the 14 Amendment’s Due Process
Clause which requires that a depravation of life, liberty, or property be preceded by
notice and opportunity of a hearing.

90. In the present case, Defendant terminated Plaintiff without notice and/or a hearing

depriving Plaintiff of her property right of continued employment with Defendant.
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91. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable
damages as a result of Defendant depraving Plaintiff of her rights, unless and until this
Honorable Court grants relief.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

A. Adjudge and decree that Defendant has violated the Section 1983 and has
depraved Plaintiff of her rights;

B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay,
benefits' adjustment, and prejudgment interest at amounts to be proved at trial for
the unlawful employment practices described herein;

C. Enter an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering, and loss of enjoyment of life;

D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with
the full benefits Plaintiff would have had Plaintiff not been discriminated against
by Defendant, or in lieu of reinstatement, award front pay;

E. Award Plaintiff the costs of this action, together with a reasonable attorneys’ fees;
and

F. Grant Plaintiff such additional relief as the Court deems just and proper under the
circumstances.

COUNT IX
Retaliation in Violation of 42 U.S.C. § 1983

92. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-30 of this
complaint as if set out in full herein.

93. Plaintiff is a member of a protected class under § 1983.
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94. By the conduct describe above, Defendant retaliated against Plaintiff for exercising rights
protected under § 1983.

95. Defendant’s conduct complained of herein was willful and in disregard of Plaintiff's
protected rights. Defendant and its supervisory personnel acted in reckless disregard of
the law.

96. Asaresult of Defendant’s actions, as alleged herein, Plaintiff has been deprived of rights,
specifically her continued employment, has been exposed to ridicule and embarrassment,
and has suffered emotional distress and damage.

97. The conduct of Defendant, by and through the conduct of its agents, employees, and/or
representatives, was the moving force behind Plaintiff's depravation of rights, to wit her
continued employment.

98. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and
with malice or reckless indifference to the Plaintiff's statutorily protected rights, thus
entitling Plaintiff to damages in the form of compensatory and punitive damages pursuant
to federal law, to punish the Defendant for its actions and to deter it, and others, from
such action in the future.

99. So that Plaintiff's rights may be protected, Plaintiff has retained the undersigned counsel
who is entitled to attorney’s fees pursuant to 42 U.S.C. § 1988, the Civil Rights Attorneys
Fee Award Act.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

A. Adjudge and decree that Defendant has violated 42 U.S.C. § 1981, and has done so

willfully, intentionally, and with reckless disregard for Plaintiff's rights;
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B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay,
benefits' adjustment, and prejudgment interest at amounts to be proved at trial for the
unlawful employment practices described herein;

C. Enter an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering, and loss of enjoyment of life;

D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the
full benefits Plaintiff would have had Plaintiff not been discriminated against by
Defendant, or in lieu of reinstatement, award front pay;

E. Award Plaintiff the costs of this action, together with a reasonable attorneys’ fees;
and

F. Grant Plaintiff such additional relief as the Court deems just and proper under the

circumstances.

JURY DEMAND

Plaintiff demands trial by jury of all issues triable as of right by jury.
Dated: June 15, 2018 Respectfully submitted,

/s/ Nathaly Lewis
Peter M. Hoogerwoerd, Esq.

Florida Bar No.: 188239
pmh@rgpattorneys.com

Nathaly Lewis, Esq.

Florida Bar No. 118315
nl@rgpattomeys.com

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Filing # 73635678 E-Filed 06/15/2018 01:37:03 PM

IN THE CIRCUIT COURT OF THE11"
JUDICIAL CIRCUIT IN AND FOR
MIAMI-DADE COUNTY, FLORIDA

 

MARIA ALBERRO MENENDEZ,
Plaintiff, CASE NO. 2017-029598-CA-01
V.
VILLAGE OF PINECREST
Defendant,
i
NOTICE OF HEARING

 

TO: BRIAN KOJI
Florida Bar No. 0116297
ALLEN, NORTON & BLUE, P.A.
Hyde Park Plaza - Suite 225
324 South Hyde Park Avenue
Tampa, Florida 33606-4127
(813) 251-1210
(813) 253-2006 — Fax
E-mail: bkoji@anblaw.com

amcclanahan@anblaw.com

YOU ARE HEREBY NOTIFIED that the undersigned has called up for hearing the
following:

MATTER: PLAINTIFF°S MOTION FOR LEAVE TO FILE AMENDED

COMPLAINT
DATE: Thursday, June 21, 2018
TIME: 8:00 A.M.
JUDGE: Honorable Judge David C. Miller
PLACE: Dade County Courthouse

73 West Flagler Street, DCC 525,
Miami, FL 33130
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THE CLERK WILL PLEASE PLACE SAME
ON THE CALENDAR.

ALL MEMORANDUMS IN SUPPORT OF OR IN
OPPOSITION TO THE MATTER TO BE HEARD
SHALL BE FILED AND A COPY PROVIDED TO THE
COURT (JUDGE) SEVEN (7) BUSINESS DAYS BEFORE
THE HEARING.

Dated: June 15, 2018
Respectfully submitted,

/s/Nathaly Lewis
Nathaly Lewis, Esq.
Fla. Bar No. 118315
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CERTIFICATE OF SERVICE

I hereby certify that on June 15, 2018 I electronically filed the foregoing
document with Florida’s E-Filing Service. I also certify that the foregoing document is
being served this day on all counsel of record or pro se parties identified on the attached
Service List in the manner specified, either via transmission generated by Florida’s E-
Filing Service or in some other authorized manner for those counsel or parties who are

not authorized to receive electronically Notices of Electronic Filing.

BRIAN KOJI

Florida Bar No. 0116297

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Respectfully submitted,

/s/Nathaly Lewis

Peter M. Hoogerwoerd, Esq.

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Fla. Bar No. 118315

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IN THE CIRCUIT CQURT OF THE
11TH JUDICIAL CIRCUITIN AND _
FOR MIAMI-DADE COUNTY, FLORIDA

MARIA ALBERRO MENENDEZ,

Plaintiff, CASE NO. 2017-029598-CA-01
y.

VILLAGE OF PINECREST,

Defendant.

NOTICE OF CANCELLATION OF HEARING
COMES NOW the Plaintiff, by and through her undersigned counsel, and hereby notifies.
that the Hearing on Plaintiff's Motion for Leave to File Amended Complaint, scheduled for
Thursday, June 21, 3018 at 8:00 am. before the Honorable Judge David C. Miller is hereby

cancelled.

Respectfully submitted this 19" day of June 2018.

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Courthouse Tower

44 West Flagler Street, Suite 2200

Miami, FL 33130

Telephone: (305)416-5000

Facsimile; (305)416-5005

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By: “\N

Nathaly Lewis, Esq.
Florida Bar No.:118315

 
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CERTIFICATE OF SERVICE

Lhereby certify that on June 19, 201 8 electronically filed the foregoing document with

Florida’s E-Filing Service, I

also certify that the foregoing document is being served this day on

all counsel of record or pro se parties identified on the attached Service List in the manner
specified, either via transmission generated by Florida’s E-Filing Service or in some other
ies who are not authorized to receive electronically

authorized manner for those counsel or part
Notices of Electronic Filing.

BRIAN KOJI, ESQ.

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IN THE CIRCUIT COURT OF THE! 1"
JUDICIAL CIRCUIT IN AND FOR
MIAMI-DADE COUNTY, FLORIDA

MARIA ALBERRO MENENDEZ,

Plaintiff, CASE NO. 2017-029598-CA-01
V.

VILLAGE OF PINECREST

Defendant,
/

 

AGREED ORDER ON PLAINTIFF’S MOTION FOR LEAVE OF COURT TO
FILE AMENDED COMPLAINT

THIS CAUSE having come before the Court on Plaintiff's Motion for Leave of Court to
File Amended Complaint and Defendant agreeing to same, and the Court being otherwise
fully advised, it is ORDERED AND ADJUDGED as follows:

The Motion is granted. The Amended Complaint is deemed filed as of the date of this
Order. Defendant shall have ten (10) days from the date of this Order to file a response to
Plaintiff's Amended Complaint.

DONE AND ORDERED in Chambers at Miami-Dade County, Florida, on
06/18/18.

 

DAVID C. MILLER Te

CIRCUIT COURT JUDGE

The parties served with this Order are indicated in the accompanying 11th Circuit
email confirmation which includes all emails provided by the submitter. The
movant shall IMMEDIATELY serve a true and correct copy of this Order, by mail,
facsimile, email or hand-delivery, to all parties/counsel of record for whom

service is not indicated by the accompanying 11th Circuit confirmation, and file
proof of service with the Clerk of Court.
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Signed original order sent electronically to the Clerk of Courts for filing in the
Court file.

Copies to:

Counsel of Record.
